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 7
                                  UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       SAN FRANCISCO DIVISION
10
     MAXIMILIAN KLEIN, et al.,                     Consolidated Case No. 3:20-cv-08570-JD
11
                  Plaintiffs,                      CONSUMER PLAINTIFFS’ NOTICE OF
12                                                 SUPPLEMENTAL AUTHORITY
13         vs.                                     REGARDING ORDER IN FTC v. META
                                                   PLATFORMS
14 META PLATFORMS, INC.,
                                                   The Hon. James Donato
15
                  Defendant.
16
   This Document Relates To: All Consumer
17 Actions

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                                                                       Case No. 3:20-cv-08570-JD
                        CONSUMER PLAINTIFFS' NOTICE REGARDING ORDER IN FTC v. META PLATFORMS
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 1          Consumer Plaintiffs respectfully submit this notice of supplemental authority regarding the

 2 district court’s November 13, 2024 order substantially denying Defendant Meta Platforms, Inc.’s

 3 motion for summary judgment in the Federal Trade Commission’s parallel antitrust case against

 4 Facebook. See Federal Trade Commission v. Meta Platforms, Inc., Case No. 1:20-cv-03590-JEB

 5 (D.D.C.), Dkt. 384. The FTC asserts claims under Section 2 of the Sherman Act for monopolization

 6 of the Personal Social Network Market (“PSN Market”), the same relevant market that Consumers

 7 and their experts assert in this case. The Court determined that a triable issue exists as to the existence

 8 of the PSN Market and Facebook’s power within it, finding the FTC’s case should proceed to trial.

 9 A true and correct copy of the Court’s decision is attached as Exhibit A.

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                          CONSUMER PLAINTIFFS' NOTICE REGARDING ORDER IN FTC v. META PLATFORMS
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 1     DATED: November 13, 2024

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 1                              ATTESTATION OF KEVIN Y. TERUYA

 2          This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3 Kevin Y. Teruya. By his signature, Mr. Teruya attests that he has obtained concurrence in the filing

 4 of this document from each of the attorneys identified on the caption page and in the above signature

 5 block.

 6
            Dated: November 13, 2024             By   /s/ Kevin Y. Teruya
 7                                                     Kevin Y. Teruya

 8

 9                                      CERTIFICATE OF SERVICE
10          I hereby certify that on this 13th day of November 2024, I electronically transmitted the
11 foregoing document to the Clerk’s Office using the CM/ECF System, causing it to be electronically

12 served on all attorneys of record.

13
                                                 By   /s/ Kevin Y. Teruya
14                                                     Kevin Y. Teruya
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                                                  -3-                   Case No. 3:20-cv-08570-JD
                         CONSUMER PLAINTIFFS' NOTICE REGARDING ORDER IN FTC v. META PLATFORMS
